Case 2:05-cr-20039-.]P|\/| Document 37 Filed 06/22/05 Page 1 of 2 Page|D 45

 

UNITED STATES DISTR]CT COURT 1 i» , f
WESTERN DISTRICT OF TENNESSEE m m n
Western Division ij;-; b§l__§;i 22 {[-~§ 8: 93

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UNITEI) STATES 0F AMERICA §§§ WD_ § TN, {‘HEM§:H§$
"’S' ease No. 2:05cr20039-2-M1/

Case No. 2:05cr20143-1-Ml
BRYANT EDWARDS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a bond revocation hearing is set for
FRIDAY, JUNE 24, 2005 at 2:45 P.M. before United States Magistrate Judge Tu M. Pham in
Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: Junezi,zoos wh )(2

`TU M_ PHAM
UNITED srArEs MAGISTRATE JUDGE

 

'lf not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1")(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3l42(t`) are present Subsection ( l) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer'S own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justi ce, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

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with Ru|e 55 and/or 32(b) FF\CrP on § vii z§§

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Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:05-CR-20039 was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

